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February 27, 2020                                                         USDC SDNY

BY ECF
                        MEMO ENDORSED                                     DOCUMENT
                                                                          ELECTRONICALLY FILED
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Hon. Valerie Caproni                                                      DATE FILED: 2/27/2020
United States District Court
Southern District of New York
40 Foley Square, Room 240
New York, NY 10007
(212) 505-6350
CaproniNYSDChambers@nysd.uscourts.gov

       Re:      Muddy Waters Capital LLC v. John Does 1-10, No. 19 Misc. 564 (VEC)
                Related Action: 3:19 Civ. 1293-SK (N.D. Cal.)
                Status Update re MLI’s Compliance with the UK Order

Dear Judge Caproni,

       This firm represents plaintiff/movant Muddy Waters Capital LLC (“MWC”) in the above-
referenced matters. I write to follow up on my letter of yesterday afternoon (ECF 22).

        I received Merrill Lynch International’s (“MLI”) amended production earlier today and
have been able to confirm that MLI has substantially complied with the UK Order. Consequently,
MWC believes that the instant motion to compel discovery against Bank of America Corp. and
Merrill Lynch Professional Clearing Corp. is now moot.

Respectfully submitted,                    IT IS HEREBY ORDERED that Petitioner's Motion to
                                           Compel Discovery is DENIED as moot. The Clerk of Court
                                           is respectfully directed to close the open motion at Dkt. 1.

Jordan Fletcher                           SO ORDERED.



                                                                       2/27/2020
                                          HON. VALERIE CAPRONI
                                          UNITED STATES DISTRICT JUDGE
